AO 257 (Rev. 6/78)            Case 4:23-cr-00036-HSG Document 1 Filed 07/01/22FILED
                                                                                Page 1UNDER
                                                                                       of 13 SEAL
       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT                INFORMATION                  INDICTMENT                        Name of District Court, and/or Judge/Magistrate Location
                                                                SUPERSEDING                         NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                              SAN FRANCISCO DIVISION
 21 U.S.C. § 843(c)(2)(A) - Advertisement of a Controlled               Petty
 Substance on the Internet
                                                                        Minor              DEFENDANT - U.S
                                                                        Misde-                                                                
                                                                        meanor                CHYNNA LACHAE CROSBY
                                                                                                                                                Jul 01 2022
                                                                        Felony
                                                                                              DISTRICT COURT NUMBER                           -ARK""USBY
PENALTY:      Maximum Penalties: 4 years' imprisonment, up to 3 years'                                                                    
              supervised release, $250,000 fine, $100 special assessment, and                   PMMAG                         
              forfeiture.                                                                                                                        



                                                                                                                        DEFENDANT
                              PROCEEDING                                                        IS NOT IN CUSTODY
                                                                                                  Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                               1)       If not detained give date any prior
                     DEA Special Agent Jeffrey Beckett
                                                                                                  summons was served on above charges          
       person is awaiting trial in another Federal or State Court,                       2)       Is a Fugitive
       give name of court
                                                                                         3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                IS IN CUSTODY
                                                                                         4)       On this charge
       this is a reprosecution of

                                                                                                                                   }
       charges previously dismissed                                                      5)       On another conviction
       which were dismissed on motion                             SHOW                                                                       Federal          State


                                                            }
       of:                                                      DOCKET NO.
                                                                                         6)       Awaiting trial on other charges
            U.S. ATTORNEY               DEFENSE
                                                                                                   If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                            }
                                                                                                                  Yes            If "Yes"
       pending case involving this same                                                       Has detainer
                                                                                                                                 give date
       defendant                                                MAGISTRATE                    been filed?         No             filed


                                                            }
                                                                 CASE NO.
                                                                                              DATE OF                    Month/Day/Year
       prior proceedings or appearance(s)
       before U.S. Magistrate regarding this                                                  ARREST
       defendant were recorded under                                                          Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                     DATE TRANSFERRED                         Month/Day/Year
Furnishing Information on this form                 Stephanie M. Hinds                        TO U.S. CUSTODY
                                  U.S. Attorney             Other U.S. Agency

Name of Assistant U.S.                                                                             This report amends AO 257 previously submitted
Attorney (if assigned)                      AUSA Maya Karwande
                                                        ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS                NO PROCESS*                  WARRANT          Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                   * Where defendant previously apprehended on complaint, no new summons or
                                                                                 warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

        500A Pine Garden Lane, Sacramento, California                            Date/Time:                                 Before Judge:

        Comments:
                     Case 4:23-cr-00036-HSG Document 1 Filed 07/01/22 Page 2 of 13
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                          
                                                                 for the                                                   Jul 01 2022
                                                                                                                         -ARK""USBY
                                                     Northern District
                                                   __________  DistrictofofCalifornia
                                                                            __________                               
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                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.       PMMAG
               CHYNNA LACHAE CROSBY                                 )
                                                                    )
                                                                            FILED UNDER SEAL
                                                                    )
                                                                    )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of         June 2020 through October 2020          in the county of                Alameda                       in the
     Northern          District of             California       , the defendant(s) violated:

            Code Section                                                      Offense Description
21 U.S.C. § 843(c)(2)(A)                         Advertisement of a Controlled Substance on the Internet



                                                 Maximum Penalties: 4 years' imprisonment, up to 3 years' supervised
                                                 release, $250,000 fine, $100 special assessment, and forfeiture.



         This criminal complaint is based on these facts:
Please see the attached affidavit of DEA Special Agent Jeff Beckett




         ✔ Continued on the attached sheet.
         u

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   $SSURYHGDVWRIRUPBBBBBBBBBBBBBBBBBBBBBB
                        BBBBBBBBBBBBBBBBBBBBBB                                                 Complainant’s signature
                     $86$0D\D.DUZDQGH
                        $86$ 0D\D .DUZDQGH
                                                                                         Jeff Beckett., DEA Special Agent
                                                                                                  Printed name and title

Sworn to before me RYHUWKHWHOHSKRQHand signed E\PH
SXUVXDQWWR)HG5&ULP3DQG G

Date:     -XQH
                                                                                                    Judge’s signature

City and state:                         Oakland, California                   Hon. Kandis A. Westmore, U.S. Magistrate Judge
                                                                                                  Printed name and title
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             AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR COMPLAINT
        I, Jeffrey Desmond Beckett, Special Agent with the Drug Enforcement Administration

(DEA), being duly sworn, hereby declare and state the following:

                                          INTRODUCTION

        1.       I make this affidavit in support of an application under Rule 4 of the Federal Rules

of Criminal Procedure for a criminal complaint charging Chynna Lachae CROSBY with one count

of the unlawful use of the Internet to advertise the sale of, or to offer to sell, distribute, or dispense,

a controlled substance in violation of Title 21, United States Code, Section 843(c)(2)(A).

                                  SOURCES OF INFORMATION

        2.       This affidavit is submitted for the limited purpose of securing a criminal

complaint and arrest warrant. I have not included every fact known to me concerning this

investigation. Instead, I have set forth only the facts necessary to establish probable cause that

the violation of the federal law identified above has occurred.

        3.       I have based my statements in this affidavit on my training and experience,

personal knowledge of the facts and circumstances obtained through my participation in this

investigation, information provided by other agents and law enforcement officers, and

information provided by, documents, records and databases, and information gained through my

training and experience. Where I refer to conversations and events, I often refer to them in

substance and in relevant part rather than in their entirety or verbatim, unless otherwise noted.

My experience and training as an DEA Special Agent and my participation in this investigation

form the basis of the opinions and conclusions set forth below. As this investigation progresses,

my understanding of the significance of certain events and evidence may change or evolve.

                                    AFFIANT BACKGROUND

        4.       I am a Special Agent of the Drug Enforcement Administration (“DEA”) and have

held this position since September 2017. I am currently assigned to the DEA Resident Office in

Oakland, California. I am an “investigative or law enforcement officer of the United States”
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within the meaning of 18 U.S.C 2510(7) and am empowered by law to conduct investigations of,

and to make arrests for, offenses enumerated in 18 U.S.C. 2516.

       5.       In July 2018, I completed the DEA’s eighteen-week specialized law enforcement

training course at the DEA’s Training Academy in Quantico, Virginia. The training covered all

aspects of drug investigations, including the identification of controlled substances, physical and

electronic surveillance, utilization of confidential sources, interview techniques, undercover

operations, financial investigations, money laundering techniques, and the general operation of

drug trafficking organizations.

       6.       Prior to my employment with the DEA, I was a police officer in New Jersey

where I completed 750 hours of New Jersey Police Training Commission training. Upon

graduation, I held the position of patrol officer for the Montclair Police Department. Prior to that,

I was a police officer in the state of North Carolina. I attended Basic Law Enforcement Training

where I received 616 hours of training. Upon graduation, I held the position of patrol officer with

the Chapel Hill Police Department. During both employment periods of each police department,

I responded to calls for service, enforced the traffic and criminal codes of each state, in addition

to conducting written reports for activities conducted during tour of duty.

       7.       During the course of my law enforcement career, I have participated in numerous
drug trafficking investigations. I have participated in multiple interviews with persons involved

in drug trafficking. In addition, I have spoken with more experienced law enforcement officers

concerning the methods and practices used by drug traffickers. I have participated in many

aspects of drug investigations including, but not limited to, controlled purchases of narcotics,

physical and electronic surveillance, and the execution of search warrants.

       8.       From my training, experience, and conversations with other law enforcement

officers who conduct drug investigations, I have become familiar with drug traffickers’ methods

of operation, including, but not limited to, the manufacturing, distribution, storage, and

transportation of controlled substances, and the ways in which various controlled substances,

including counterfeit prescription pills and fentanyl, are packaged for sale, sold, and ingested.

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                                           APPLICABLE STATUTES
           9.       Under Title 21, United States Code, Section 843(c)(2)(A) it is unlawful for any

person “to use the Internet, or cause the Internet to be used, to advertise the sale of, or to offer to

sell, distribute, or dispense, a controlled substance where such sale, distribution, or dispensing is

not authorized by this subchapter or by the Controlled Substances Import and Export Act [21

U.S.C. 951 et seq.].”

                               FACTS SUPPORTING PROBABLE CAUSE

           10.      On August 11, 2020, a 21-year-old Oakland resident was found dead in his

apartment. The victim’s mother advised law enforcement that she had received a phone call from

one of the victim’s friends on the evening of August 10, 2020. During the call, the friend had

stated that the friend was playing video games with the victim online and was speaking with the

victim via headset. The friend stated that while they were playing, the victim’s speech sounded

slurred. The victim’s mother had tried to call the victim but was not able to make contact. An

autopsy determined that the victim died from an accidental overdose from acute fentanyl and

alprazolam intoxication. There were 13 NG/ML of fentanyl in the victim’s blood. I know based

on my training and experience that that is a potentially toxic amount of fentanyl. I also know that

alprazolam is a controlled substance, specifically a benzodiazepine, that can be prescribed by a

doctor but is often sold illicitly by narcotics traffickers.

           11.      The victim’s mother was able to access the victim’s cell phone and found

conversations in the victim’s Instagram messages with the username “ceeepaysoo” regarding pill

purchases. On August 10, 2022, at approximately 5:24 p.m. the victim and “ceeepaysoo” had the

following exchange:
              Victim: “Let me get 3b”
              @ceeepaysoo: “Wya”
              @ceeepaysoo: “Same spot?”
              Victim: “2 actually not 3”
              Victim: “----------- 1 Oakland CA 04604”


1
    I have removed the exact address to protect the victim’s privacy.


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               Victim: “94603”
               Victim: “How long you going to be”
               @ceeepaysoo: “15 mins”
               Victim: “3 my bad”
               Victim: “Wya”
               Victim: “Have to leave in a little”
               @ceeepaysoo: “I’m getting off the freeway”
               Victim: “Ok”
               @ceeepaysoo: “From 580”
               Victim: “Ok”
               Victim: “You have an extra back wood”
               Victim: “Loll”
               @ceeepaysoo: “Yea lol I got you. 5 mins”
               Victim: “Ty”
               @ceeepaysoo: “Here”
               Victim: “Here I come”
       This conversation took place just a few hours before the victim had slurred speech while

playing video games with a friend. Based on my training and experience, I believe this interaction

to be a conversation between the victim and the Instagram user “ceeepaysoo” about purchasing

controlled substances. Based on this conversation, I believe that the Instagram user “ceeepaysoo”

provided the victim with illegal narcotics, which the victim then took and which caused the victim

to overdose.

       12.     The victim’s mother saw additional Instagram messages that indicated

“ceeepaysoo” had sold the victim “M30s” on other occasions, including on July 16, 2020, shortly
before the victim had suffered a previous non-fatal drug overdose. In my training and experience,

“M30s” may refer to either legitimate oxycodone 30 milligram pills or, more likely, counterfeit

oxycodone pills containing fentanyl. Fentanyl is an opioid that is many times more potent than

several other commonly used opioids, including heroin. In recent years, abuse of fentanyl has

become a leading cause of overdose deaths in the United States.

       13.     On November 6, 2020, the Honorable Jacqueline Scott Corley, U.S. Magistrate

Judge, issued a federal search warrant for the Instagram account “ceeepaysoo.” The Instagram




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records contained numerous stories 2, photographs, and messages between ceeepyasoo and other
Instagram users in which ceeepaysoo is advertising M30s and “bars” for sale, negotiating prices,

and coordinating transactions. In addition to the photo of the pills, some of the stories includes

phrases such as “taaap in” or “hit meeee” which in my training and experience means “contact

me.” In the direct message conversations, ceeepaysoo’s customer’s typically request either M30s

or “bars.” Based on my investigation, I believe that “bars” in the context of ceeepaysoo’s dealing

refers to alprazolam pills. Alprazolam is a Schedule 4 controlled substance commonly known as

Xanax. Through my training and experience, and speaking with other experienced law

enforcement officers, I know that alprazolam pills are commonly sold amongst narcotics

traffickers and are sometimes counterfeit. Counterfeit alprazolam pills are often manufactured with

alprazolam, fentanyl and/or acetaminophen.

        14.      For example, on July 6, 2020, ceeepaysoo posted the following Instagram story of




2
 Instagram has a feature called “Instagram Story” where you can post a photograph(s) and/or video(s) and they stay
active on your profile for a period of twenty-four hours, unless deleted before the twenty-four hour time limit
expires.


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a hand holding a bag of blue bars with the imprint “B707” with the text “Hit meeee” and the

hashtag “#notforsale”:

        I conducted a search of these pills on www.drugs.com and I found that they are a Schedule
4 controlled substance Alprazolam 2mg. Based on my training and experience I believe that by

posting the photograph of the pills along with the text “hit meeee” and the hashtag “#notforsale,”

which I believe to be a sarcastic comment, ceeepaysoo was advertising the blue alprazolam bars

for sale and encouraging people to send her a direct message if they were interested in purchasing

the pills.

        15.       Ceeepaysoo posted similar stories on other occasions between June – October of

2020, a few examples are included below:




             June 25, 2020                  July 13, 2020                  October 10, 2020


        16.       The Instagram story that was posted on June 25, 2020, is a photograph of a bag of

blue bar pills with the imprint “B707” with the text “taaap inn.” As discussed above, these pills


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are a Schedule 4 controlled substance Alprazolam 2mg. I believe that by posting a photo of the

pills with the text “taaap inn,” ceeepaysoo is advertising the pills for sale and encouraging other

Instagram users to contact her if they are interested in purchasing pills.

        17.     The Instagram story that was posted on July 13, 2020, is a photograph of a bag of

round blue pills with stamp “M” on one side and “30” on the other side and the text “Tap in” and

“#notforsale.” Based on my training and experience, I believe that the pills that are pictured in the

story posted are counterfeit oxycodone pills known as “M30s.” I am familiar with the physical

appearance of counterfeit oxycodone pills: they are blue, round pills with the number “30”

imprinted on one side and the letter “M” imprinted on the other side. These pills are consistent

with the shape, color, and markings of oxycodone hydrochloride pills dispensed in pharmacies. In

my training and experience along with speaking with other law enforcement officers, I believe that

these pills to be counterfeit based on what the lack of precision of the imprints on the pills. I also

believe these pills to be counterfeit based on them being sold illicitly, generally out of any bag or

container that is not a prescription bottle. Based on my training and experience, I believe that

ceeepaysoo was advertising the M30s for sale and encouraging other Instagram users to contact

her if they are interested in purchasing pills.

        18.     The Instagram Story that was posted on October 10, 2020, is a photograph of a
person’s hand and approximately 20-30 yellow pills with the imprint “R039” on them

accompanied by the text, “Taaaappp inn.” I conducted a search on www.drugs.com in order to

identify the pills. Based on the markings, I believe they are a Schedule 4 controlled substance,

alprazolam 2mg. Based on my training and experience, I believe that ceeepaysoo was advertising

the pills for sale and encouraging other Instagram users to contact her if they are interested in

purchasing pills.




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       19.     On August 6 and August 7, 2020, in the days before the August 10, 2022 direct

message exchange with the victim, ceeepaysoo posted the following two stories:




                   August 6, 2020                                 August 7, 2020



       20.     The story posted on August 6, 2020, is a photograph of a hand holding

approximately 50-60 round blue pills with the stamp “M” on one side and “30” on the other side.
As described above, based on my training and experience, I believe that the pills that are pictured

in the story posted on August 6, 2020 are counterfeit oxycodone pills known as “M30s.” In my

training and experience along with speaking with other law enforcement officers, I believe that

these pills to be counterfeit based on what the lack of precision of the imprints on the pills. I also

believe these pills to be counterfeit based on them being sold illicitly, generally out of any bag or

container that is not a prescription bottle. Based on my training and experience and knowledge

of this investigation, I believe that by posting a story of a hand holding the M30s, ceeepaysoo

was advertising the M30s for sale.

       21.     The story posted on August 7, 2020 is a photograph of a hand holding a plastic

bag with approximately 40-50 white bar-shaped pills with the stamp “GG 249” and the text “San


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Francisco, California.” After conducting a search of “GG 249” on “Drugs.com,” I found that the

stamp “GG 249” is associated with a Schedule 4 controlled substance Alprazolam 2mg.

Through my training and experience, and speaking with other experienced law enforcement

officers, I know that alprazolam pills are commonly sold amongst narcotics traffickers and are

sometimes counterfeit. Based on my training and experience, I believe that based on the

appearance of the pills in the photograph, it is likely they are counterfeit. In particular, on one of

the pills in the top of the photograph, one of the “G” stamps appears to be backward. In my

training and experience, imprecise stamping is a common sign that the pills were manufactured

on an illicit pill press and not by a pharmaceutical company. Another sign that these pills are

counterfeit is the bag that these pills are being sold in has a cloudy/dusty residue on the inside of

it that is due to the pills not being properly pressed. Based on my training and experience and

knowledge of the investigation, I believe that by posting a story of the pills, “ceeepaysoo” was

advertising the alprazolam “bars” for sale.

       22.     Based on my investigation, I identified Chynna CROSBY as the user of the

“ceeepaysoo” account. On February 22, 2021, federal law enforcement executed a search of

CROSBY’s apartment pursuant to a federal warrant. After being read her Miranda rights,

CROSBY agreed to be interviewed. During the interview, CROSBY admitted to using her
Instagram account “ceeepaysoo” to advertise, offer to sell, and to sell alprazolam bars and M30s,

but claimed that any postings or messages related to M30s were not her drugs and instead were

on behalf of a friend. CROSBY further admitted to numerous suspected drug deals that were in

her Instagram direct messages. CROSBY admitted to knowing the victim and being the driver

for all the sales involving the victim. Specifically, CROSBY admitted to driving to the victim’s

house on August 10, 2020, but stated that the deal involved M30s and was handled by her friend.

CROSBY denied selling the victim alprazolam bars.

       23.     At the conclusion of the interview, CROSBY was told not to delete any of her

social media posts or conversations as they were related to an ongoing federal investigation.

During the search of the cell phone that was seized from CROSBY, I noticed that messages were

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actively being deleted as I scrolled through the Instagram account “ceeepaysoo.” I then noticed

that every post was deleted from the Instagram profile “ceeepaysoo” along with the description

in the biography section of the Instagram profile. This indicated to me that CROSBY or

someone with her account information had logged into her account from another device and was

deleting her account.

Additional Information about Instagram
       24.     Based on my training and experience, I have learned that Instagram owns and

operates a free-access social-networking website of the same name that can be accessed at

http://www.instagram.com. Instagram allows its users to create their own profile pages, which

can include a short biography, a photo of themselves, and other information. Users can access

Instagram through the Instagram website or by using a special electronic application (“app”)

created by the company that allows users to access the service through a mobile device. In order

to use Instagram, Instagram requires an internet connection either through wifi or mobile data

from the device to post photos or stories, send and receive messages, and view other users’

photos or stories.

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                                          CONCLUSION
        25.     On the basis of my participation in this investigation and the information

summarized above, I assert there is probable cause to believe that between on or about June 2020

through at least on or about October 2020, in the Northern District of California, Chynna Lachae

CROSBY violated 21 U.S.C. § 843(c)(2)(A) by unlawfully using the Internet to advertise, or to

offer to sell or distribute a controlled substance.


                                                ______________________________
                                                 V-HIIUH\'HVPRQG%HFNHWW
                                                JEFFREY DESMOND BECKETT
                                                Special Agent
                                                Drug Enforcement Administration


Sworn to before me over the telephone and signed by me pursuant to Fed. R. Crim. P. 4.1 on this
WKday of June 2022.
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_________________________________________
THE HONORABLE KANDIS A. WESTMORE
United States Magistrate Judge




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